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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)

DENISE PAJOTTE                                         )
                                                       )
        Plaintiff,                                     )
                                                       )       CASE NO.:       8:17-cv-03704-TDC
        v.                                             )
                                                       )
WASHINGTON METROPOLITAN AREA                           )
TRANSIT AUTHORITY; ET AL.                              )
                                                       )
        Defendants.                                    )

     DEFENDANT WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY’S
         MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS

        Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Washington Metropolitan Area Transit

Authority (“WMATA”) moves this Honorable Court to dismiss Plaintiff’s claim against

WMATA with prejudice for failure to state a claim. Plaintiff’s Third Amended Complaint

alleges one count against WMATA: a purported violation of the Employee Retirement Income

Security Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”). Employee benefit plans established

and maintained for employees of a state agency, however, are specifically excluded from

coverage under ERISA. 29 U.S.C. § 1003. Because WMATA is an interstate compact agency

treated as a state level agency, ERISA does not govern WMATA’s employee benefits plans.

Plaintiff’s complaint against WMATA must be dismissed with prejudice.

I.      STANDARD OF REVIEW

        To survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), a complaint must

contain sufficient factual allegations, accepted as true, which are sufficient to state a claim for

relief plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Factual allegations
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must be enough to raise a right to relief above the speculative level . . . .” Bell Atlantic Corp. v.

Twombly; 550 U.S. 544, 555 (2007).

II.     ARGUMENT

        WMATA is an inter-jurisdictional compact agency that is treated as a state level agency

within the Fourth Circuit. See Lizzi v. Alexander, 255 F.3d 128, 132 (4th Cir. 2001) (“WMATA

is a state agency, subject to all the benefits and liabilities of a state itself . . . It does not matter

that WMATA was created by interstate compact, as opposed to being an agency of one state

alone.”) Employee benefit plans established and maintained for employees of a state agency are

specifically excluded from coverage under ERISA. 29 U.S.C.A. § 1003 titled “Coverage” states

in relevant part:

                (b) Exceptions for certain plans
                The provisions of this subchapter shall not apply to any employee
                benefit plan if –
                        (1)     such plan is a governmental plan (as defined in
                                section 1002(32) of this title);

(emphasis added). 29 U.S.C.A. § 1002(32), in turn, states in part:

                The term “governmental plan” means a plan established or
                maintained for its employees by the Government of the United
                States, by the government of any State or political subdivision
                thereof, or by any agency or instrumentality of any of the
                foregoing.

(emphasis added). Because any plan issued by WMATA to its employees is not subject to

ERISA, Plaintiff’s claims against WMATA in her Third Amended Complaint, which only allege

ERISA violations, must be dismissed with prejudice. See Smith v. Reg'l Transit Auth., 827 F.3d

412, 420 (5th Cir. 2016) (holding the subject transit authority’s plan was a “governmental plan,”

and exempt from ERISA); Canady v. WMATA, 909 F. Supp. 324, 327 (D. Md. 1995) (finding

subject plan issued by WMATA was a “governmental plan,” and therefore exempt from ERISA);



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Akins v. WMATA, 729 F.Supp. 903, 905 n. 1 (D.D.C.1990) (granting summary judgment by

noting WMATA is a governmental entity and therefore exempt from applicable ERISA

provisions).

       WHEREFORE, in consideration of the foregoing grounds, Defendant WMATA requests

that the Court grant the instant motion, thereby dismissing Plaintiff’s claims against WMATA

with prejudice, and grant to WMATA any such other and further relief as this Court deems just

and proper.

Dated: December 20, 2017

                                            Respectfully submitted,

                                            WASHINGTON METROPOLITAN AREA
                                            TRANSIT AUTHORITY

                                             /s/ M. Richard Coel
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically served on all counsel of
record via the Court’s CM/ECF system.

                                              /s/ M. Richard Coel
                                             M. Richard Coel




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